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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 0:22-cv-60078-WPD
 MICHELLE CARPIO,

        Plaintiff,
 v.

 SMILEFY, INC., a Florida Corporation,
 ZYPRIAN RALPH GEORG, individually,
 and TATJANA GEORG, individually,

       Defendants.
 ____________________________________________/

                                   NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that Alexander T. Harne, Esq., of Perera Alemán, hereby

 respectfully enters an appearance in this matter as counsel of record for Plaintiff in the above-style

 matter; and requests that copies of all pleadings and documents filed with or issued with regard to

 the above-captioned case be sent to the undersigned.

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 12, 2022, a true and correct copy of the foregoing

 has been electronically filed with the Clerk of Court using CM/ECF and that the foregoing

 documents being served this day on all counsel or parties of record via transmission of a Notice of

 Electronic Filing generated by CM/ECF.

                                                         By: /s/ Alexander T. Harne
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